                Case 1:18-cr-00089-TSE Document 11 Filed 01/24/18 Page 1 of 1 PageID# 28

AO 442 (Rev. 01/09) Arrest Warrant
                                        =                                                                      FiLhU
                                        United States District Court
                                                                  for the

                                                      Eastern District ofVirginia                                2U P 2- 5b
                                                                                                                O'siRicT rniiRT
                  United States of America                                                          ALEXANDRIA, VIRGINIA
                                V.
                                                                                              ^
                                                                              Case No. 1:18-PR- \ 0
                                                                                                         <?
                Jerry Chun Shing Lee, a/k/a
                        Zhen Cheng Li

                            Defendant


                                                      ARREST WARRANT

To:       Any authorized law enforcementofficer

          YOU ARE COMMANDED to arrest and brmg before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) Jerry Chun Shing Lee, a/k/a Zhen Cheng Li                                                                     ,
who is accused of an offense or violation based on the following document filed with the court:

O Indictment             • Superseding Indictment          5^Information         • Superseding Information • Complaint
•   Probation Violation Petition            • Supervised Release Violation Petition        • Violation Notice             • Order of the Court

This offense is briefly described as follows:

Unlawful retention of documents relating to the national defense, in violation of Title 18, United States Code, Section 793(e)


                               A TRUE CQ?Y,TESTE:
                         CLERK, U.S. DISTRICT COURT
                                                                                          /s/.
                                                                            John F. Anderson
Date: 01/13/2018 BY.                                                        United States MaoiGtrate iudat
                                        DEPUT/CLERK                                          issuing officers signature


City and state:      Alexandria, Virginia                                     John F. Anderson, United States l\/lagistrate Judge
                                                                                                 Printed name and title



                                                                 Return


          This warrant was received on (date) oilii/zoii ,and the person was arrested on (date) Olfislzolt
at (city andstate) JFK-Nc>^ yoHc •

Date: ijzijzoif.                                                                            ArresttJig^fficer's signature


                                                                                                 Printed name and title '           ^
